           Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 1 of 7




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

TAMARA JEAN FARRELL-SHANLEY,         )
an individual,                       )
                                     )               CASE NO.:
            Plaintiff,               )
vs.                                  )
                                     )
SFB SOUTH POINT, LLC,                )
a Georgia Limited Liability Company, )
                                     )
            Defendant.               )
___________________________________/ )

                                   COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL-SHANLEY, through her undersigned

counsel, hereby files this Complaint and sues SFB SOUTH POINT, LLC, a

Georgia Limited Liability Company, for injunctive relief, attorney’s fees and costs

pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and allege:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




                                           1
           Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 2 of 7




referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.       Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.       Plaintiff, TAMARA JEAN FARRELL-SHANLEY, (hereinafter

referred to as “MRS. FARRELL-SHANLEY”), is a resident of Henry County,

Georgia.

      4.      MRS. FARRELL-SHANLEY is disabled and suffers from Congenital

Spastic Cerebral Palsy Diplegia. She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.       Due to her disability, MRS. FARRELL-SHANLEY is substantially

impaired in several major life activities, including walking.

      6.       Defendant, SFB SOUTH POINT, LLC, a Georgia Limited Liability

Company, (hereinafter referred to as “DEFENDANT”), is registered to do business

in the State of Georgia. Upon information and belief, DEFENDANT is the owner

and/or operator of the real property and improvements which are the subject of this




                                          2
           Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 3 of 7



action, to wit: the Property, known as South Point Pavilion, located at 1479-1505

Highway 20 W, McDonough, Georgia 30253.

      7.       All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Henry County, Georgia.

                    COUNT I - VIOLATION OF TITLE III OF THE
                      AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.       The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.      MRS. FARRELL-SHANLEY resides in close proximity to the

Property and has visited the Property and attempted to utilize the facilities offered

at the Property.

      11.      While at the Property, MRS. FARRELL-SHANLEY experienced

serious difficulty accessing the goods and utilizing the services therein due to the

architectural barriers discussed herein.

      12.      MRS. FARRELL-SHANLEY continues to desire to visit the Property,

but fears that she will continue to experience serious difficulty due to the barriers

discussed herein, which still exist.

      13.      MRS. FARRELL-SHANLEY plans to and will visit the property in


                                           3
        Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 4 of 7



the near future to attempt to utilize the goods and services offered thereon.

However, but for the barriers to access at the Property, Plaintiff would visit the

Property more often.

      14.    Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.

§ 36.302 et. seq. and is discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following barriers to access which

Plaintiff personally observed and which hindered her access:

                      A.   Plaintiff   encountered   inaccessible   parking   spaces

             designated for disabled use throughout the Property due to curb ramps

             which protrude into the access aisles of each of the disabled use

             parking spaces;

                      B.   Plaintiff encountered several inaccessible parking spaces

             designated for disabled use throughout the Property due to a lack

             accessible signage to identify them as exclusively for disabled use.

                      C.   Plaintiff encountered an inaccessible parking space

             designated for disabled use near the T-Mobile store due to narrow

             width and uneven surface slopes where the gutter encroaches into the

             space.

                      D.   Plaintiff encountered inaccessible curb ramps throughout

             the Property due to excessive slopes.

                                           4
         Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 5 of 7



      15.    Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      16.    Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      17.    Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

undue burden on Defendant.

      18.    Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.    The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against SFB SOUTH

POINT, LLC, and requests the following injunctive and declaratory relief:

             A.     That the Court declares that the Property owned and

                    operated by DEFENDANT is in violation of the ADA;

             B.     That the Court enter an Order directing DEFENDANT to

                    alter its property to make it accessible and useable by

                    individuals with disabilities to the full extent required by

                                            5
Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 6 of 7



         Title III of the ADA;

    C.   That the Court enter an Order directing DEFENDANT to

         evaluate and neutralize its policies and procedures

         towards persons with disabilities for such reasonable time

         so as to allow DEFENDANT to undertake and complete

         corrective procedures;

    D.   That the Court award reasonable attorney’s fees, costs

         (including expert fees), and other expenses of suit, to the

         Plaintiff; and

    E.   That the Court award such other and further relief as it

         deems necessary, just and proper.



                      Respectfully Submitted,

                      KU & MUSSMAN, P.A.
                      Attorneys for Plaintiff
                      18501 Pines Blvd, Suite 209-A
                      Pembroke Pines, FL 33029
                      Tel: (305) 891-1322
                      Fax: (305) 891-4512


                      By: /s/ John A. Moore        .




                             KU & MUSSMAN, P.A.
                             Attorney for Plaintiff
                             John A. Moore, Esq.
                             Georgia Bar No.: 519792
                             Of Counsel
                                 6
Case 1:18-cv-05277-WMR Document 1 Filed 11/16/18 Page 7 of 7



                           The Moore Law Group, LLC
                           1745 Martin Luther King Jr., Drive
                           Atlanta, GA 30314
                           Tel.: (678) 288-5601
                           Fax: (888) 553-0071
                           Email: jmoore@moorelawllc.com




                             7
